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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 DARYL AGNEW, et al.

                        Plaintiffs,                No: 15-340 (ABJ)

 v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

                        Defendant.

                                      PROPOSED ORDER


       Plaintiffs’ motion to amend their Second Amended Complaint is granted; and the Clerk is

kindly directed to file plaintiffs’ Third Amended Complaint this day.



                                              _________________________________
                                              The Honorable Amy Berman Jackson
                                              United States District Court Judge
